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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY
                                 FRANKFORT DIVISION
                          CIVIL ACTION NO. 3:23-cv-00008-GFVT

KENTUCKY CHAMBER OF COMMERCE,                               )
CHAMBER OF COMMERCE OF THE                                  )
UNITED STATES OF AMERICA;                                   )
ASSOCIATED GENERAL CONTRACTORS OF                           )
KENTUCKY, INC.,                                             )
HOME BUILDERS ASSOCIATION OF KENTUCKY,                      )
PORTLAND CEMENT ASSOCIATION, and                            )
GEORGIA CHAMBER OF COMMERCE,                                )
                                                            )
                                 Plaintiffs,                )
                                                            )
v.                                                          )
                                                            )
UNITED STATES ENVIRONMENTAL PROTECTION                      )
AGENCY, ET AL.                                              )
                                                            )
                                 Defendants.                )
                                                            )

 PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT PURSUANT TO FRCP 7.1

          Pursuant to Fed. R. Civ. P. 7.1(a)(2), the plaintiffs, Kentucky Chamber of Commerce,

Chamber of Commerce of the United States of America, Associated General Contractors of

Kentucky, Inc., Home Builders Association of Kentucky, Inc., Portland Cement Association, and

Georgia Chamber of Commerce, state that none of these entities are publicly held corporations and

no publicly held corporation owns 10% or more of their stock.




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                                              /s/ Charles E. English, Jr._____________________
                                              CHARLES E. ENGLISH, JR. (Ky. Bar #21050)
                                              SARAH PAYNE-JARBOE (Ky. Bar #94472)
                                              LAJUANA S. WILCHER (Ky. Bar #76893)
                                              Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

        This is to certify that on February 22, 2023, the foregoing was filed with the Clerk of Court
using the CM/ECF system, which will send a notice of electronic filing to all counsel of record.


                                              _/s/ Charles E. English, Jr. _____________
                                              CHARLES E. ENGLISH, JR.




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